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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


AUGUST LOUIS WOLF                           )
                                            )
       Plaintiff,                           )
                                            )
v.                                          )            Civil Action No. 19-305 (RMC)
                                            )
                                            )
SAMANTHA MENH                               )
                                            )
       Defendant.                           )
                                            )


          PLAINTIFF’S REVISED MEMORANDUM
     OF POINTS AND AUTHORITIES IN OPPOSITION TO
       DEFENDANT’S REVISED MOTION TO DISMISS
       Plaintiff, August Louis Wolf, by counsel, pursuant to LCvR 7, respectfully

submits the following Revised Memorandum of Points and Authorities in Opposition to

defendant, Samantha Menh’s, revised motion to dismiss [ECF No. 21]. 1

                                 I. INTRODUCTION

       On September 14, 2018, Wolf commenced this action by filing a three-count

complaint against Menh for tortious interference with contract, defamation per se and

common law conspiracy.       Wolf alleges that Menh, a highly sophisticated political

operative, concocted a story about Wolf out of whole cloth, falsely accusing Wolf of

sexual harassment, sexual battery, assault and other crimes and egregious misdeeds in a

failed scheme to extort money from Wolf. Wolf contends that Menh published these


       1
               Plaintiff commenced this action in the United States District Court for the
Eastern District of Virginia. On February 5, 2019, the District Court in Virginia entered
an Order transferring the case to this Court. [ECF No. 19].


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false and defamatory statements to media outlets before filing a lawsuit in 2016; that

Menh repeated the odious statements to certain political action committees and operatives

in Alexandria, Virginia, within the year immediately preceding the filing of this lawsuit;

and that Menh’s false statements have been republished by third-parties many times

within the year preceding commencement of this action. Wolf’s complaint states that

Menh’s wrongdoing caused Wolf to lose his employment and caused substantial injury to

Wolf’s personal and professional reputations, for which Wolf seeks damages. [ECF No. 1

(“Complaint”), ¶¶ 2, 3, 4, 7, 28, 31, 33, 40, 47, 51(b). 51(f)].

       This matter is before the Court on Menh’s revised motion to dismiss Wolf’s

complaint pursuant to Section 4 of the Federal Arbitration Act, 9 U.S.C. § 4 (“FAA”) and

Rules 12(b)(3) and 12(b)(6) of the Federal Rules of Civil Procedure (the “Rules”).

Menh’s revised motion should be denied for three (3) reasons:            First, the absolute

privilege does not protect Menh because Menh chose to publish her false statements to

the press prior to filing a lawsuit against Wolf. Second, Wolf is not a party to any

contract requiring arbitration of his claims. 2   Third, Wolf’s defamation and conspiracy

claims are each within the applicable one and five-year statute of limitations. 3




       2
               In her original memorandum in support motion to dismiss, Menh
incorrectly asserted that “Wolf and his campaign organization, August Wolf for Senate
… hired Menh”. [ECF No. 4, p. 2]. In her memorandum in support of revised motion to
dismiss, Menh repeats this contention. Menh also alleges that “Wolf and Menh signed an
employment agreement”. [ECF. No. 21-1 (“Menh Memo in Support”), pp. 2-3]. Wolf’s
complaint alleges that August Wolf for Senate (“AWFS”), not Wolf, hired Menh.
[Complaint, ¶ 4 (“In March 2016, August Wolf for Senate (“AWFS”) hired Menh as
Finance Director and Advisor”)]. Wolf did not sign the letter agreement between
AWFS and Menh.

       3
               Wolf does not oppose Menh’s request for an oral hearing.


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                   II. PRINCIPLES OF LAW AND ARGUMENT

       “A motion to dismiss under Rule 12(b)(6) tests the sufficiency of a complaint;

importantly, it does not resolve contests surrounding the facts, the merits of a claim, or

the applicability of defenses.” Republican Party of N. C. v. Martin, 980 F.2d 943, 952 (4th

Cir. 1992) (citing 5A Charles A. Wright & Arthur R. Miller, Federal Practice and

Procedure § 1356 (1990)). In considering a motion to dismiss for failure to state a claim

upon which relief can be granted, the Court must consider the complaint in its entirety,

accepting all factual allegations in the complaint as true, “even if doubtful in fact”, and

must view the complaint in the light most favorable to the plaintiff. See, e.g., Bell Atl

Corp. v. Twombly, 550 U.S. 544, 555 (2007); id. Macharia v. United States, 238 F. Supp.

2d 13, 19 (D.D.C. 2002), aff’d, 334 F.3d 61 (D.C. Cir. 2003); In re United Mine Workers

of Am. Employee Benefit Plans Litig., 854 F. Supp. 914, 915 (D.D.C. 1994).

       The Federal Rules of Civil Procedure “require[] only ‘a short and plain statement

of the claim showing that the pleader is entitled to relief,’ in order to ‘give the defendant

fair notice of what the ... claim is and the grounds upon which it rests.’” Twombly, 550

U.S. at 555 (omission in original) (quoting Conley v. Gibson, 355 U.S. 41, 47 (1957)).

Although a complaint does not need detailed factual allegations, a plaintiff’s obligation to

provide the grounds of his entitlement to relief “requires more than labels and

conclusions, and a formulaic recitation of the elements of a cause of action will not do.”

Id. (citations omitted); see id. Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009). “A claim has

facial plausibility when the plaintiff pleads factual content that allows the court to draw

the reasonable inference that the defendant is liable for the misconduct alleged.” Iqbal,

556 U.S. at 678 (citing Twombly, 550 U.S. at 556); see also Rudder v. Williams, 666 F.3d



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790, 794 (D.C. Cir. 2012).        Once a claim has been stated adequately, “it may be

supported by showing any set of facts consistent with the allegations in the complaint.”

Twombly, 550 U.S. at 563.

A.        Menh Is NOT Absolutely Immune From Liability

          This action is not based on statements published by Menh in a lawsuit filed in

Court. If all Menh had done was to file a lawsuit, she would be entitled to the absolute

privilege accorded to statements made in the course of a judicial proceeding.

          Menh did something different.

          As alleged in Wolf’s complaint, Menh published false and defamatory statements

to media outlets prior to the time she filed her action in Connecticut 4 and also published

statements to political action committees (PACs) and political operatives between

September 14, 2017 and September 14, 2018. [See, e.g., Complaint, ¶¶ 4, 40, 47, 51(b),

51(f)].

          In these circumstances, no privilege protects Menh’s statements.

          In order to understand why no privilege applies, it is helpful to examine cases

dealing with the “fair report privilege”.



          4
                As the Eastern District of Virginia duly observed in its Order transferring
the case to this Court:




[ECF No. 19, p. 2].


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       In ZS Associates, Inc. v. Synygy, Inc., the defendant filed a complaint that

included arguably defamatory statements about the plaintiff. Then, defendant issued a

press release describing the complaint in some detail and republishing the allegedly

defamatory statements. Plaintiff sued for defamation. Defendant moved to dismiss

plaintiff’s defamation claims under Rule 12(b)(6), arguing that the statements contained

in the press release were subject to the “fair report privilege”. 2011 WL 2038513, at * 1-3

(E.D. Pa. 2011). The fair report privilege, recognized by District of Columbia Courts, is

contained in section 611 of the Restatement (Second) of Torts. Section 611 provides

“[t]he publication of defamatory matter concerning another in a report of an official

action or proceeding … that deals with a matter of public concern is privileged if the

report is accurate and complete or a fair abridgement of the occurrence reported.” The

Court in ZS Associates found that the fair report privilege was “inapplicable to Synygy in

this case.” The District Court looked to comment C to § 611, which states that:

       “A person cannot confer this privilege upon himself by making the original
       defamatory publication himself and then reporting to other people what he had
       stated. This is true whether the original publication was privileged or not”.

The Court found that:

       The purpose of this exception is clear: it prevents a plaintiff from filing a lawsuit
       containing defamatory allegations and then ‘reporting’ such defamatory
       allegations with impunity … The [fair report] privilege was not intended to permit
       a person maliciously to institute a judicial proceeding, alleging false and
       defamatory charges, then to circulate a press release or other communication
       based thereon, and, ultimately to escape liability by invoking the fair report
       privilege”.

2011 WL 2038513, at * 4; see id. The Knit With v. Knitting Fever, Inc., 2010 WL

3792200, at * 3-5 (E.D. Pa. 2010) (“[t]o now extend the fair report privilege to [the

circumstances of this case] would allow individuals to make defamatory statements in



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judicial filings, write and disseminate press reports about those filings, provide additional

defamatory commentary in such reports, and then avoid all liability for those statements

under the claim of privilege. Given the illogic of such a position, the Court declines to

find Plaintiff's statements protected by the fair report privilege.”) (cited in ZS Associates,

2011 WL 2038513 at * 5)).

        If the fair report privilege does not shield post-filing press releases – as the Court

in ZS Associates clearly held – surely there is no immunity for Menh’s contemptuous and

malicious pre-filing disclosures to the press in this case. 5

        Footnote 2 of Menh’s memorandum in support of revised motion suggests that

there were errors in her earlier pleadings concerning the date Menh filed her complaint.

These acknowledged errors illustrate the need for discovery and, in any case, do not

contradict the allegations in Wolf’s complaint that Menh gave the story to the press

before she filed in court. 6 The cases cited by Menh are all distinguishable. NONE of


        5
                The law recognizes that a person has a qualified privilege to publish or
communicate a statement to a person or an audience, where the communicator and the
listener share a “common interest”. Mastro v. Potomac Elec. Power Co., 447 F.3d 843,
858 (D.C. Cir. 2006, cert. denied, 127 S.Ct. 1140 (2007). This qualified privilege is lost,
however, through publication that is outside normal channels, or otherwise excessive, or
that is made with malicious intent. See, e.g., Tacka v. Georgetown Univ., 193 F.Supp.2d
43, 53 (D.D.C. 2001) (“Plaintiff has alleged issues of material fact on both of these
grounds. Tacka has argued that publication was not through the ‘normal channels’
dictated by the faculty handbook, and as a result was excessive. Tacka has also alleged
that Prelinger’s failure to adhere to the guidelines, and her overall mishandling of the
plagiarism charge, was motivated by malice.”); see Larimore v. Blaylock, 259 Va. 568,
575-576, 528 S.E.2d 119 (2000) (“The rule of qualified privilege that we adopted years
ago continues to encourage open communications on matters of employment while not
shielding the use of such communications for an individual’s personal malicious
purposes”). In this case, Menh had no qualified privilege to publish anything to the
press.

        6
               Complaint, ¶ 31 (“After she leaked and published the fraudulent lawsuit
to the press and others, Menh filed her complaint in a Superior Court in Connecticutt and
commenced sham litigation.”) (emphasis added).

                                               6
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those cases involved publication of false and defamatory statements to the press prior to

commencement of a judicial proceeding.          For instance, Kelly v. Bonney involved

defamatory statements in a verified petition that was delivered to the department of child

and youth services and the attorney general as part of a decertification proceeding that

was “quasijudicial in nature” . 221 Conn. 549, 566 (1992) (“Like the privilege which is

generally applied to pertinent statements made in formal judicial proceedings, an absolute

privilege also attaches to relevant statements made during administrative proceedings

which are ‘quasi-judicial’ in nature.     Once it is determined that a proceeding is

quasijudicial in nature, the absolute privilege that is granted to statements made in

furtherance of it “extends to every step of the proceeding until final disposition.”)

(quotations and citations omitted). 7     Similarly, the defendant’s counterclaim for

defamation in King v. Barbour was “based entirely on statements Plaintiff made in his

Complaint in this action and are accordingly protected by the judicial proceedings

privilege.” 240 F.Supp.2d 136, 142 (D.D.C. 2017) (“Defendant's defamation or libel and

false light invasion of privacy claims are based entirely on Plaintiff’s initiation of this

lawsuit and the statements in Plaintiff’s Complaint.      The allegedly false statements


       7
                The instant case is not one contemplated by § 586 of the Restatement
(Second) of Torts. Section 586 protects communications by attorneys, such as demand
letters or settlement offers delivered to an opposing party. See, e.g., Mansfield v.
Bernabei, 284 Va. 116, 727 S.E.2d 69 (2012) (The “legitimate concern we expressed in
Lindeman, that extension of absolute privilege to pre-filing communications may prompt
defamatory statements without meaningful restraint, is addressed by the Restatement
requirements that the proposed judicial proceeding must be ‘contemplated in good faith
and under serious consideration,’ and the communication must relate to that anticipated
proceeding. The concern may be further alleviated by limiting the absolute privilege to
disclosures made to persons with an interest in the proposed proceeding. Thus, regarding
the applicability of absolute privilege to communications preliminary to a proposed
judicial proceeding, this Court adopts the rule expressed in the Restatement (Second) of
Torts §§ 586, 587 as well as the additional requirement that the disclosure be made only
to interested persons.”).

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underlying Defendant’s defamation/libel counterclaim are all statements in Plaintiff’s

Complaint, see Am. Counterclaim ¶ 28 (‘Mr. King caused these statements to be

published in the complaint in this action which is accessible to the public.’), and those

same allegedly false statements form the basis of Defendant’s false light claims, see id. ¶

37 (‘By filing his complaint, Mr. King knew that the facts contained therein would

become a matter of public knowledge.’). Allegations in a complaint clearly fall within

the judicial proceedings privilege.”).

       Menh is a sophisticated political operative. She meant to hurt Wolf when Wolf

refused her extortive demands. Menh knew exactly what she was doing when she leaked

a draft of a complaint to the press. There is no rule of law that shields her from her

regrettable behavior.

B.     Wolf Is NOT A Party To The Employment Agreement

       Menh next argues that Wolf is obligated to arbitrate his claims.

       Wolf expressly denies that he is obligated to arbitrate.

       The letter agreement relied upon by Menh is on the letterhead of AWFS:




The letter plainly and expressly evinces an agreement between AWFS and Menh:

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At the foot of each page are the following words:




       AWFS is a principal campaign committee 8 established pursuant to the provisions

of the Federal Election Campaign Law of 1971 (“FECA”). Title 52 U.S.C. § 30101 et seq.

FECA supersedes and preempts “any provision of State law with respect to election to

Federal office.” 52 U.S.C. § 30143(a). Wolf was never the treasurer of AWFS. He has

never assented to personal liability for the debts and/or obligations of AWFS.      He

assumed no personal obligation to Menh. Wolf is not liable for the debts of AWFS

merely because he is the candidate for office. Elections Bd. v. Ward, 314 N.W.2d 120,

123 (Wis. 1982). (“[A] political campaign committee at common law is to be treated as a

voluntary association….”); Shortlidge v. Gutoski, 484 A.2d 1083, 1087 (N.H. 1984)

(“Mere membership in the association, without more, will not generally be sufficient to

attach liability for debts incurred in the name of the association.”).




       8
                True copies of AWFS’ statement of organization for 2015 and 2016 are
attached collectively as Exhibit “A”. The documents are public records available on the
Internet. [https://www.fec.gov/data/committee/C00577536/?tab=filings&cycle=2016].


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       Menh urges the Court to re-write the AWFS-Menh agreement, and to make Wolf

a party. Plainly, Wolf did not sign the AWFS-Menh agreement in his individual capacity

or assume any obligation to arbitrate.

       1.      The Agreement To Arbitrate Is Unenforceable

       Even if Wolf had signed the AWFS-Menh letter – which he did not – the

arbitration clause in the letter is an unenforceable “agreement to agree”. The arbitration

clause states that “you hereby agree to binding arbitration to resolve said dispute with a

mutually agreeable arbiter”. In the District of Columbia, a valid contract requires “both

(1) agreement as to all material terms; and (2) intention of the parties to be bound.” Jack

Baker, Inc. v. Office Space Dev. Corp., 664 A.2d 1236, 1238 (D.C. 1995) (internal

quotation marks omitted). In this case, the “arbiter” was not mutually agreed upon at the

time AWFS and Menh signed the letter dated March 18, 2016. Without an agreement as

to the arbiter – an essential term of the contract – the arbitration clause is unenforceable.

       2.      Motion To Stay The Connecticutt Litigation

       Wolf has never conceded that he is bound by the letter agreement between AWFS

and Menh, or that his claims against Menh are subject to arbitration. AWFS and Wolf

filed a motion to stay the Connecticutt case pending arbitration of Menh’s claims. In

September 2016, the State Court entered a temporary stay that was expressly conditional:




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[ECF No. 21-3, p. 36].      No arbitration was commenced by AWFS or Wolf.              No

arbitration was commenced by Menh. The stay expired. 9

       Significantly, after AWFS and Wolf filed the motion to stay, Wolf received

significant new evidence, evidence that was not available to Wolf or his prior attorney at

the time AWFS and Wolf filed the motion to stay – Affidavits from Campaign staffers

and a taped conversation with Baylor Myers that completely refuted Menh’s false claims

of sexual harassment and highlighted the fact that Menh had committed independent torts

outside the employment context as part of a scheme to extort Wolf. The new evidence

against Menh is a game-changer. As a result, Wolf prepared “counterclaims” that he

intended to file. Those counterclaims – like the claims at issue in this case – do not fall

within the scope of the AWFS-Menh arbitration agreement.               The AWFS-Menh

arbitration clause only covers disputes between AWFS and Menh “with respect to the

amount of monies owed to you or any other reason”. On its face, the arbitration clause in


       9
               Menh eventually filed an arbitration claim in March 2017, long after the
stay had expired.

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the AWFS-Menh agreement does not cover disputes between Wolf and Menh, and

certainly not intentional torts committed by Menh against after the date she ceased being

a contractor of AWFS and after the AWFS-Menh agreement was terminated. 10

       All the claims asserted by Wolf in this case arose after Menh quit working for

AWFS on May 18, 2016. None of claims at issue in this case are disputes between “you

[Menh] and the Campaign”.

       3.      Law of the Case Is Inapplicable

       The “law of the case” doctrine holds that an appellate court’s decision on a legal

issue is binding on both the trial court on remand and an appellate court on a subsequent

appeal in the same case and with substantially the same facts. Under the law of the case

doctrine, questions of law decided on appeal to a court of last resort usually govern the

case throughout its later phases. See, e.g., United States v. Bell, 5 F.3d 64, 66 (4th Cir.

1993) (“Few legal precepts are as firmly established as the doctrine that the mandate of a

higher court is ‘controlling as to matters within its compass.’ Sprague v. Ticonic Nat'l

Bank, 307 U.S. 161, 168 (1939). Indeed, it is indisputable that a lower court generally is

‘bound to carry the mandate of the upper court into execution and [may] not consider the

questions which the mandate laid at rest.’ Id. Because this ‘mandate rule’ is merely a

‘specific application of the law of the case doctrine,’ in the absence of exceptional


       10
                Menh’s claims are “intertwined” with Wolf’s claims only because Menh
chose to smear Wolf with unfounded allegations of sexual battery and sexual harassment.
Wolf’s claims arose after Menh quit AWFS and relate to (a) Menh’s publication of false
and defamatory statements and the republication of those statements to third-parties and
by third-parties in 2017 [see, e.g., Complaint, ¶¶ 40 (“Menh’s false accusations of sexual
battery, sexual harassment and other crimes have been republished over and over and over,
including many times within the last year. For instance, as a result of Menh’s extortion and
vengeful acts, Wolf’s name appears on a “Creep Sheet”, an ultimate humiliation to Wolf”)],
and (b) Menh’s use of unfounded litigation to tortiously interfere with Wolf’s
employment.

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circumstances, it compels compliance on remand with the dictates of a superior court and

forecloses relitigation of issues expressly or impliedly decided by the appellate court …

In addition, the rule forecloses litigation of issues decided by the district court but

foregone on appeal or otherwise waived, for example because they were not raised in the

district court … Thus, when this court remands for further proceedings, a district court

must, except in rare circumstances, ‘implement both the letter and spirit of the ...

mandate, taking into account [our] opinion and the circumstances it embraces.’”);

Yesudian ex rel. U.S. v. Howard Univ., 270 F.3d 969, 972 (D.C. Cir. 2001) (“[T]he law of

the case doctrine does not apply where an issue was not raised before the prior panel and

thus was not decided by it.”); Guilford Transp. Indus., Inc. v. Wilner, 760 A.2d 580, 593

(D.C. 2000) (the law of the case doctrine “merely expresses the practice of courts generally

to refuse to reopen what has been decided,” but it is “not a limit to their power.”) (quoting

Messinger v. Anderson, 225 U.S. 436, 444 (1912) (Holmes, J.)).

       In Wilner, an action for libel, the defendant filed a motion to dismiss the

complaint for failure to state a claim or, in the alternative, for summary judgment. The

Court denied the motion for failure to state a claim outright and denied the motion for

summary judgment without prejudice to refiling upon completion of discovery. The

Court’s ruling having kept the case alive, the parties conducted discovery, and the

defendant ultimately filed a second motion for summary judgment, which was heard by a

different Judge and granted. 760 A.2d at 587-588. On appeal, plaintiff argued that the

second Judge “violated the principle of ‘law of the case’ by decline to follow [the first

Judge’s] earlier ruling denying [plaintiff’s] motion for summary judgment.” The District

of Columbia Court of Appeals rejected the argument that the second Judge was bound to



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follow the earlier ruling of the first Judge. The Court of Appeals agreed with the

Supreme Court of Connecticut that:

       [i]n an appeal to this court where views of the law expressed by a judge at one
       stage of the proceedings differ from those of another at a different stage, the
       important question is not whether there was a difference but which view was
       right.

760 A.2d at 593 (quoting Barnes v. Schlein, 192 Conn. 732, 473 A.2d 1221, 1222 (1984)

(citations and internal quotation marks omitted).

       Since there has been no appeal in this case or in the Connecticut State Court

action filed by Menh, law of the case is plainly inapplicable. Even if the doctrine were

applicable, the “important questions” are:

       ●       Is the AWFS-Menh arbitration clause is enforceable, where the parties

never agreed on the “arbiter”?

       -and-

       ●       Is Wolf bound by a clause in a contract to which he is not a party and to

which he never agreed?

       -and-

       ●       Does the arbitration clause in the AWFS-Menh agreement cover disputes

between Wolf and Menh?




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C.     Wolf’s Claims Are All Timely

       Menh concedes that Wolf’s claim of tortious interference with contract (Count I)

is timely. Beard v. Edmondson and Gallaghar, 790 A.2d 541, 546 (D.C. Ct. App. 2002)

(“The cause of action for tortious interference with contract is subject to a three-year

statute of limitations. See D.C.Code § 12-301(8) (2001).”). 11

       Menh claims that Wolf’s defamation (Count II) and common law conspiracy

(Count III) claims are barred by the statute of limitations.

       Count II and III are not time-barred.

       1.      Choice of Law

       As a general rule, Federal Courts sitting in diversity apply the forum state’s

choice of law rules to determine the controlling substantive law. See, e.g. Klaxon Co. v.

Stentor Elec. Mfg. Co., 313 U.S. 487, 496 (1941). There is a well-known exception to the


       11
                In her memorandum in support of revised motion to dismiss, p. 20, Menh
indicates that Wolf alleges “defamation claims in Count I”. To be clear, Count I does not
allege a claim of defamation. Rather, Count I alleges that defamation was one of the
egregious methods employed by Menh to tortiously interfere with Wolf’s business and
employment. See, e.g., Modis, Inc. v. Infotran Systems, Inc., 893 F.2d 237 (D.D.C. 2012)
(“The torts of intentional interference with a contract, or intentional interference with
business relations, have the following elements: (1) the existence of a valid contract,
business relationship or expectancy; (2) knowledge of the contract, relationship or
expectancy on the part of the interferer; (3) intentional interference inducing or causing a
breach or termination of the relationship or expectancy; and (4) damage caused by the
interference … To establish a claim of improper interference with contract or business
relations, the plaintiff must demonstrate that the defendant engaged in conduct that is
‘egregious; for example, it must involve libel, slander, physical coercion, fraud,
misrepresentation, or disparagement.’”) (citing Sheppard v. Dickstein, Shapiro, Morin &
Oshinsky, 59 F.Supp.2d 27, 34 (D.D.C. 1999) (dismissing plaintiff’s tortious interference
claim where the plaintiff’s complaint was “silent” as to any statements made by the
defendants that constituted slander, libel, or knowing misrepresentations) (internal
quotation omitted)). Here, Wolf has shown that Menh engaged in conduct that was
egregious. She intentionally leaked false and defamatory statements to the press
accusing Wolf of numerous crimes and serious misconduct. Raboya v. Shrybman &
Associates, 777 F.Supp. 58, 59 (D.D.C. 1991) (“Any written or printed statement which
falsely charges another with the commission of a crime is libelous per se.”).

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general rule, however. In Van Dusen v. Barrack, 376 U.S. 612 (1964), the United States

Supreme Court held that, following a transfer initiated by a defendant, the transferee

court must follow the choice-of-law rules that prevailed in the transferor court. In Ferens

v. John Deere Co., 494 U.S. 516 (1990), the Supreme Court decided that, when a plaintiff

moves for the transfer, the same rule applies.

       This case was transferred from the United States District Court for the Eastern

District of Virginia to the District of Columbia. Thus, contrary to Menh’s assertion, the

Court applies Virginia choice-of-law rules to determine the statute of limitations

applicable to Counts II and III.

       2.      Virginia’s Statutes of Limitation Apply to Counts II and III

       Under Virginia’s choice-of-law rules, “it is well-settled that the limitations period

is treated as a procedural issue governed by Virginia law”. Hunter Innovations Co. v.

Travelers Indem. Co. of Conn., 753 F.Supp.2d 597, 602 (E.D.Va. 2010) (citing Hansen v.

Stanley Martin Cos., 266 Va. 345, 351, 585 S.E.2d 567 (2003)).

               a.      COUNT II - Defamation

       Under Virginia law, a claim for defamation must be filed within one-year after the

cause of action accrues. § 8.01-247.1 of the Virginia Code (1950), as amended. A cause

of action for defamation accrues on the date of publication. Jordan v. Shands, 255 Va.

492, 500 S.E.2d 215, 218 (1998) (“Any cause of action that the plaintiff may have had for

defamation against any of the defendants accrued on June 21, 1995, which is the date she

alleges in her motion for judgment that the defamatory acts occurred.”); compare id.

Fitzgerald v. Seamans, 553 F.2d 220, 227 (D.C. Cir. 1977) (defamation occurs upon

publication, and the statute of limitations runs from the date of publication).



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                       i.      The Republication Rule

       It has long been stated that “[t]alebearers are as bad as talemakers”. Harris v.

Minvielle, 19 So. 935, 928 (La. Ct. App. 1896) (cited in ZS Associates, 2011 WL

2038513 at * 4)).

       Virginia follows the “republication rule”, which holds that the original defamer is

liable for the republication or repetition of her defamation by others. 12 Republication

occurs when the original defamatory statement is “affirmatively reiterated” or

redistributed to a new audience. Eramo v. Rolling Stone, LLC, 2016 WL 5234688, at * 11

(W.D. Va. 2016) (citing Clark v. Viacom Int’l, Inc., 617 Fed.Appx. 495, 505 (6th Cir.

2015) and In re Davis, 347 B.R. 607, 611 (W.D. Ky. 2006)); id. Gilmore v. Jones, Case

No. 3:18-cv-00017 (W.D. Va. March 29, 2019) (Document 123, Memorandum Opinion,

p. 27) (article and video published on the website www.infowars.com was republished by

Alex Jones on his YouTube channel). The leading case in Virginia on republication is

Weaver v. Beneficial Finance Co., 199 Va. 196, 98 S.E.2d 687 (1957). In Weaver, the

defendants wrote a libelous letter about the plaintiff, and published the letter to plaintiff’s



       12
                Under the republication rule, “one who repeats a defamatory statement is
as liable as the original defamer.” Reuber v. Good Chemical News, Inc., 925 F.2d 703,
712 (4th Cir. 1991), cert. denied, 111 S.Ct. 2814 (1991); Lee v. Dong-A Ilbo, 849 F.2d
876, 878 (4th Cir. 1988) (same); see also Dragulescu v. Va. Union Univ., 223 F.Supp.3d
499, 509 (E.D. Va. 2016) (“[E]ach successive publication of an old or preexisting
defamatory statement gives rise to a new cause of action under Virginia law.”); Eramo v.
Rolling Stone, LLC, 209 F. Supp.3d 862, 872 (W.D. Va. 2016) (“‘[r]epetition of another’s
words does not release one of responsibility if the repeater knows that the words are false
or inherently improbable, or there are obvious reasons to doubt the veracity of the person
quoted.’”) (quoting Goldwater v. Ginzburg, 414 F.2d 324, 337 (2nd Cir. 1969), cert.
denied, 396 U.S. 1049 (1970)); id. Olinger v. American Savings and Loan Ass’n, 409
F.2d 142, 144 (D.C. Cir. 1969) (“The law affords no protection to those who couch their
libel in the form of reports or repetition … [T]he repeater cannot defend on the ground of
truth simply by proving that the source named did, in fact, utter the statement.”).


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employer. The letter was later republished to the company’s promotion board. In his

complaint, the plaintiff alleged

       “that the libelous letter in question was republished on or about March 21, 1956
       before a promotion board convened to consider appellant’s record, at which time
       the contents of the letter were first made known to appellant; that the letter
       suggested that appellant was and is dishonest, insolvent and one to whom credit
       should not be extended; that it attacked his reputation for integrity; that appellees
       knew the libelous letter would be a permanent part of his record and would be
       republished in the future; that the republication of the letter was the natural and
       probable consequence of the appellees’ act … Appellant’s cause of action is
       grounded upon the republication of the letter, on March 21, 1956.”

199 Va. at 198, 98 S.E.2d at 690. The trial court sustained a plea in bar of the statute of

limitations, and dismissed plaintiff’s complaint for defamation with prejudice.         The

Supreme Court reversed, holding as follows:

       “It is well settled that the author or originator of a defamation is liable for a
       republication or repetition thereof by third persons, provided it is the natural and
       probable consequence of his act, or he has presumptively or actually authorized or
       directed its republication. This is based upon the principle that such republication
       constitutes a new cause of action against the original author. However, the
       original author is not responsible if the republication or repetition is not the
       natural and probable consequence of his act, but is the independent and
       unauthorized act of a third party.
       …

       “‘Under the weight of authority the author of a libel or slander is not liable for its
       voluntary and unjustifiable repetition, without his authority or request, by others
       over whom he has no control, either as on a direct cause of action or by way of
       aggravation of damages, and such repetition cannot be considered in law a
       necessary, natural and probable consequence of the original slander or libel. But
       the rule has one important qualification. It is a general principle that every one is
       responsible for the necessary consequences of his act, and it may be that the
       repetition of a slander or libel may be the natural consequence of the original
       publication, in which case the author of the original defamatory matter would be
       liable. And where the words declared on are slanderous per se their
       repetition by others is the natural and probable result of the original
       slander.’”

199 Va. at 199-200, 98 S.E.2d at 690 (emphasis added); Moore v. Allied Chemical Corp.,

480 F.Supp. 364, 376 (E.D. Va. 1979) (“Count V is not time-barred insofar as plaintiff


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seeks to hold Allied liable for republications of the allegedly defamatory statement

occurring on or after July 1, 1976. If he can show that the statement was defamatory, he

may be able to show that the republications of the statement were the natural and

probable result of the original publication.”).

       Menh’s statements about Wolf are slanderous per se. In his Complaint, Wolf

alleges that Menh’s original defamatory statements – leaked to the press before Menh

filed suit in June 2016 – were republished by third-parties in 2017 within the year prior to

the date Wolf filed this action. 13 Wolf also alleges that Menh published false and

defamatory statements about Wolf to political operatives in Virginia within the year

preceding commencement of this action. [Complaint, ¶ 4 (“Between 2016 and the

present, Menh, acting in concert with certain political operatives, interfered with Wolf’s

business and employment and repeatedly defamed and disparaged Wolf”); ¶ 40

(“Menh’s false accusations of sexual battery, sexual harassment and other crimes have

been republished over and over and over, including many times within the last year. For

instance, as a result of Menh’s extortion and vengeful acts, Wolf’s name appears on a

“Creep Sheet”, an ultimate humiliation to Wolf”); ¶ 48 (“Menh is liable for the

republication of the false and defamatory statements by third-parties within the past

year”); ¶ 51(b) (“Menh intentionally set out to destroy Wolf with falsehoods. The false

statements were published to the media and political operatives, such as GWLF and




       13
               In her memorandum in support of revised motion to dismiss, p. 20, Menh
states that “Wolf alleges that Menh published the defamatory allegations of her complaint
when she filed it on June 1, 2016.” This is not what Wolf alleges. Wolf alleges that
Menh published false and defamatory statement to media outlets before she filed her
lawsuit.


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Backer [https://www.political.law/dan] in Virginia in retaliation and reprisal for Wolf’s

refusal to pay the sum unlawfully demanded by Menh”)].

       Applying Virginia law, Wolf’s claims of defamation are timely. Viewed in the

light most favorable to Wolf, the Complaint alleges that Menh’s false and defamatory

statements were republished by numerous media outlets and third parties between

November 20, 2017 and September 14, 2018 – the date Wolf filed this action. Menh’s

publication to PACs and political operatives, such as GWLF, also occurred within the

year prior to commencement of this case.

               b.     COUNT III – Conspiracy

       Under Virginia law, Wolf’s conspiracy claim is also timely. See, e.g., Hurst v.

State Farm Mut. Auto Ins. Co., 2007 WL 951692, at * 5 (W.D. Va. 2007) (“The

limitations period for a civil conspiracy is based on the statute of limitations for the

underlying act”); Dunlap v. Cottman Transmission Systems, LLC, 287 Va. 207, 222, 754

S.E.2d 313 (2012) (“we hold that the five-year statute of limitations in Code § 8.01–

243(B) applies to both tortious interference with contract and tortious interference with

business expectancy.”); Amr v. Virginia State University, 2011 WL 4404030, at * 15

(E.D. Va. 2011) (“Tortious interference with contract constitutes an injury to property

governed by Virginia’s five-year statute of limitations [in § 8.01-243 of the Virginia

Code]”).

       Wolf’s common law conspiracy claim is predicated Menh’s tortious interference

with Wolf’s employment. [Complaint, ¶ 55].         In Dunlap v. Cottman Transmission

Systems, LLC, the Virginia Supreme Court affirmed that tortious interference with

contract is an “unlawful act” that will support a claim of conspiracy. 287 Va. at 217-218,



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754 S.E.2d at 318 (“we hold that tortious interference with contract and tortious

interference with business expectancy each constitute the requisite ‘unlawful act’ to

proceed on a business conspiracy claim”). There is no dispute that Wolf’s claim of

tortious interference is timely. Therefore, his claim that Menh and agents of GWLF

conspired to tortiously interfere with Wolf’s employment, using improper methods such

as defamation, is likewise timely.

                   CONCLUSION AND REQUEST FOR RELIEF

       For the reasons stated above and at the hearing of this matter, Wolf respectfully

requests the Court to deny Menh’s revised motion to dismiss.



DATED:         April 15, 2019



                           Signature of Counsel on Next Page




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                          CERTIFICATE OF SERVICE

      I hereby certify that on April 15, 2019 a copy of the foregoing was filed

electronically using the Court’s CM/ECF system, which will send notice of electronic

filing to counsel for the Defendant and all interested parties receiving notices via

CM/ECF.




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